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 8
                               UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
       CRYTEK GMBH,                                   )   Case No. 2:17-CV-08937
11                                                    )
             vs.                                      )   [HON. DOLLY M. GEE]
12                                                    )
       CLOUD IMPERIUM GAMES CORP. and                 )   NOTICE OF MOTION AND
13     ROBERTS SPACE INDUSTRIES CORP.,                )   MOTION TO DISMISS THE
                                                      )   SECOND AMENDED
14                  Defendants.                       )   COMPLAINT IN PART
                                                      )   (FRCP 12(B)(6))
15                                                    )
                                                      )   Date:      October 12, 2018
16                                                    )   Time:      9:30 AM
                                                      )   Courtroom: 8C
17                                                    )
                                                      )
18                                                    )
                                                      )
19                                                    )
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21           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
22           NOTICE IS HEREBY GIVEN that, pursuant to Rule 12(b)(6) of the Federal Rules
23     of Civil Procedure and the Court’s Initial Standing Order dated December 13, 2017, on
24     October 12, 2018 at 9:30 a.m., or as soon thereafter as the matter may be heard, in
25     Courtroom 8C by the Honorable Dolly M. Gee of the United States District Court for the
26     Central District of California, located at 350 West 1st Street, Los Angeles, California
27     90012, Defendants Cloud Imperium Games Corp. (“CIG”) and Roberts Space Industries
28     Corp. (“RSI”) (together, “Defendants”) will, and hereby do, move to dismiss in part the
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 1     Second Amended Complaint dated August 16, 2018 (the “SAC”) filed by Plaintiff Crytek
 2     GmbH (“Crytek” or “Plaintiff”) and the first claim for relief therein.
 3           This motion is brought on the grounds that the SAC fails to state a claim for breach
 4     of contract with respect to Section 2.4 of the Game License Agreement between the
 5     parties because the SAC alleges no facts to support a claim that Defendants have engaged
 6     in a business that in any way competes with Crytek’s game engine business.
 7           This motion is based upon: this Notice of Motion and Motion; the Memorandum
 8     of Points and Authorities filed herewith; the pleadings and papers on file herein; and
 9     upon such other matters as may be presented to the Court at the time of the hearing.
10           This motion is made following the conference of counsel pursuant to L.R. 7-3,
11     which took place on August 30, 2018.
12     Dated: September 6, 2018
13

14                                            FRANKFURT KURNIT KLEIN & SELZ P.C.
15                                            BY: /s/ Jeremy S. Goldman
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21                                            Attorneys for Defendants CLOUD IMPERIUM
                                              GAMES CORP. and ROBERTS SPACE
22                                            INDUSTRIES CORP.
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                 DEFENDANTS’ NOTICE AND MOTION TO DISMISS THE SAC IN PART
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